
962 A.2d 1076 (2009)
197 N.J. 261
In the Matter of Peter E. MANOLAKIS, an Attorney at Law.
Supreme Court of New Jersey.
January 13, 2009.

ORDER
This matter having been duly presented to the Court on the petition of the Office of Attorney Ethics pursuant to Rule 1:20-3(g)(4) and Rule 1:20-11, seeking the immediate temporary suspension of PETER E. MANOLAKIS of NEW BRUNSWICK, who was admitted to the bar of this State in 1987;
And the Court having filed on Order on December 11, 2008, which gave respondent thirty days within which to provide the Office of Attorney Ethics with all records and information relating to its investigation, failing which respondent would be immediately temporarily suspended from the practice of law without further notice;
And the Office of Attorney Ethics having reported that respondent has failed to comply with the Court's Order;
And good cause appearing;
It is ORDERED that PETER E. MANOLAKIS is temporarily suspended from the practice of law, effective immediately and until the further Order of the Court; and it is further
ORDERED that all funds, if any, currently existing in any New Jersey financial institution maintained by PETER E. MANOLAKIS pursuant to Rule 1:21-6 shall be restrained from disbursement except on application to this Court for good cause shown, pending the further Order of this Court; and it is further
ORDERED that respondent be restrained and enjoined from practicing law during the period of his suspension and that respondent comply with Rule 1:20-20 dealing with suspended attorneys; and it is further
ORDERED that the entire record of this matter be made a permanent part of respondent's file as an attorney at law of this State.
